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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------X
UNITED STATES OF AMERICA,
                                                        Ind. No.: S1-19-CR-254 (ALC)

           -v-                                          DECLARATION OF
                                                        EDWARD V. SAPONE, ESQ.
                                                        IN SUPPORT OF DEFENDANT
REGINALD FOWLER,                                        REGINALD FOWLER’S
                                                        PRETRIAL MOTIONS
                           Defendant.
----------------------------------------------------X

        EDWARD V. SAPONE, ESQ., pursuant to 28 U.S.C. § 1746, declares under the penalty

of perjury that the following is true and correct:

        1.       I am a partner in the law firm Sapone & Petrillo, LLP. We represent Defendant

Reginald Fowler in the above-captioned case.

        2.       This declaration is submitted for Defendant Reginald Fowler in support of the ac-

companying Memorandum of Law, dated October 14, 2021.

        3.       The following exhibits are annexed to this Declaration:

                 a.       Affidavit of Todd McGee, dated October 23, 2018 (Exhibit A);

                 b.       Seizure Warrants, dated October 23, 2018 (Exhibit B); and

                 c.       Affidavit of Defendant Reginald Fowler (Exhibit C);

        4.       I adopt the statements made in the accompanying Memorandum of Law and ex-

hibits, and declare under the penalty of perjury that all statements of fact in the accompanying

Memorandum of Law are true and accurate to the best of my knowledge and belief.
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         WHEREFORE, we respectfully request that the accompanying pretrial motions be grant-

ed in their entirety, and that, to the extent that finding of facts might assist the Court in deciding

these motions, the Court order a hearing at a time convenient to the Court and the Government.


Dated:         October 14, 2021
               New York, NY




                                                      Respectfully submitted,




                                                      /s/Edward V. Sapone
                                                      Edward V. Sapone, Esq.
                                                      Sapone & Petrillo, LLP
                                                      Attorneys for Defendant
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